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                            UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF VIRGINIA
                                   (Richmond Division)


FLAGSTAR BANK, FSB,                                   )
                                                      )
                 Plaintiff,                           )
                                                      )       Civil Action No. 3:21-cv-00568
v.                                                    )
                                                      )
KEITER, STEPHENS,                                     )
HURST, GARY & SHREAVES,                               )
A PROFESSIONAL CORPORATION                            )
d/b/a KEITER CPA,                                     )
                                                      )
                 Defendant.                           )


      MEMORANDUM IN SUPPORT OF MOTION TO EXTEND TIME FOR FILING
             RESPONSE TO DEFENDANT’S MOTION TO DISMISS

         Pursuant to Rule 6(b)(1)(A) of the Federal Rules of Civil Procedure and Local Rule 7(F)(1)

of the Local Rules of the Eastern District of Virginia, Plaintiff, by counsel, and joined by

Defendant, hereby moves for an extension of the deadline to file opposition to the motion to

dismiss that has been filed in this case by the Defendant and for a corresponding extension for

Defendant to file a reply to the opposition. In support of this motion, Plaintiff states as follows:

      1. Plaintiff filed its Complaint on September 1, 2021, bringing claims against Defendant for

         fraud, aiding and abetting fraud, and negligent misrepresentation.

      2. Defendant filed a Motion to Dismiss and supporting memorandum on November 1, 2021.

      3. Pursuant to Local Rule 7(F)(1), Plaintiff’s opposition to this motion is due Monday,

         November 15, 2021.
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   4. Defendant’s motion to dismiss is substantial and seeks dismissal of each of Plaintiff’s three

       causes of action.

   5. There is an intervening federal bank holiday during the time in which Plaintiff has to

       respond to Defendant’s motion.

   6. To allow sufficient time to draft a response and permit client review, counsel requests an

       extension of time so that Plaintiff’s opposition would be due on or before Tuesday,

       November 23.

   7. So that Defendant’s may have adequate time to reply to Plaintiff’s rebuttal motion, and in

       light of the Thanksgiving holiday, counsel requests that the time Defendant has to reply be

       extended to Thursday, December 2.

   8. The undersigned submits that this motion is made in good faith, after consultation with

       counsel for the Defendant, is not interposed for purposes of delay, will result in no

       prejudice to Defendant, which consents to the relief requested, and is in the best interests

       of justice and judicial economy.



Respectfully submitted,

                                                /s/ Jeri K. Somers

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                                 CERTIFICATE OF SERVICE

       I hereby certify that on the 10th day of November 2021, I electronically filed the

foregoing with the Clerk of the Court using the CM/ECF systems which will send a notification

of electronic filing (NEF) to the following:

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